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AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

United States of America
Vv.

MUFID FAWAZ ALKHADER

Defendant

for the
Northern District of New York

Case No. 1:25-CR-007 (AMN)

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by

information.

Date: Lb. Y LIES

Js

Defendants signature

eo Signtiture of defendant's attorney

_ Timothy E. Austin, Assistant Federal Public Defender ©
Printed name of defendant's attorney

QW. Verdacer

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Judge's signature

Hon. Anne M. Nardacci, U.S. District Judge
Judge's printed name and title

